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AO 442 (Rev. 11111) ArrestWarrant




                                         UNITED STATES DISTRICT COURT
                                                                     for the

                                                           District of Columbia

                      United States of America
                                 v.                                      )     Case: 1:24-mj-00009
                           Zylas Hamilton                                )     Assigned To : Meri1Neather, Robin M.
                                                                         )     Assign. Date: 1/10l2024
                                                                         )     Description: COrvllPLAINT WlARREST W'ARRANT
                                                                         )
                                                                         )
                             Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                             Z las Hamilton
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        o Superseding Indictment    o Information o Superseding Information                                    ]I Complaint
o Probation Violation Petition    o Supervised Release Violation Petition o Violation Notice                                  0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(I)         - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
 Lawful Authority;
 18 U.S.C. § 1752(a)(2) - Disorderly or disruptive conduct in a restricted building or grounds;
 40 U.S.c. § 5104(e)(2)(D)           - Disorderly Conduct in a Capitol Building;
 40 U.S.C. § 5l04(e)(2)(G)           - Parading, demonstrating,    or picketing in a Capitol Building.
                                                                                                                2024.01.10
Date: --~~~~--
          01/10/2024                                                                    p -....
                                                                                           -I'I/w~              16:14:02 -05'00'
                                                                                                Issuing officer's signature

City and state:                     Washin   on D.C.                             Robin M. Meriweather,         U.S. Magistrate Judge
                                                                                                  Printed name and title


                                                                   Return

           This warrant was received on (date) 0 J / J 0 /7.. 07...!.j       , and the person was arrested on (date)
at (city and state)  t3Lui fZ.IOGi , 6-£OR(xd{ J •

Date:   01/Z.~J'20'2.Y
                  I




                                                                                                  Printed namJ and title
